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                          DECLARATION OF JOHN SKIBINSKI

       BEFORE ME, the undersigned authority, on this day personally appeared, JOHN

SKIBINSKI, whose name is subscribed hereto, and said person being by me duly sworn, stated

the following under penalty of perjury:


       1. “My name is John Skibinski.

       2. I am a resident of the City of Houston, State of Texas, United States of America; I am
          over the age of majority; and I have personal knowledge of the matters declared herein,
          which are true and correct to the best of my knowledge.

       3. At all times pertinent to this Declaration, I was employed by GH America Energy, LLC
          (“GHAE”) as a Senior Project Developer with GHAE’s Renewable Energies
          Department. I am currently the New Energies Development Director with GHAE. By
          virtue of my duties and responsibilities in connection with my employment with
          GHAE, I am familiar with GHAE’s renewable energy business operations. I have been
          authorized to sign this Declaration on GHAE’s behalf.

       4. GHAE’s Renewable Energies Department was led by Mingyu Tang (“Tang”). The
          purpose of the department under his management was to market for sale specific non-
          residential properties to companies that were interested in developing their own
          projects on the land. As part of my duties as Senior Project Developer, I assisted
          potential buyers in understanding the technical aspects of potential energy project
          developments for which the land may be appropriate.

       5. In November 2022, I attended a company meeting led by GHAE’s CEO, Lingyun Sun
          (“Sun”), concerning the poor performance of the Renewable Energies Department.
          Specifically, Sun expressed concerns that Tang had failed to adequately lead the
          department and meet the minimum expected goals. I personally had similar discussions
          with Tang and it was my impression that Tang was not motivated to sell the properties;
          often created obstacles to selling the properties; and exhibited poor communication
          with potential customers and GHAE’s upper management.

       6. During the first quarter of 2023, it was my observation that Tang became even more
          distant and less involved with the property sales project, forcing my colleague, Gustavo
          Solon and I, to take over to meet department sales goals. Instead of working on the
          property sales projects, Tang began focusing on side projects that were not sanctioned
          by GHAE, but for which he was using GHAE research and resources.

       7. For example, around April 2023, Tang began soliciting me for specific technical

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    assistance on his personal projects and proposals during GHAE work hours, including,
    but not limited to, energy storage project proposals and transmission line plans based
    on GHAE’s prior research that he wanted to pitch to potential outside investors. I found
    it curious that Tang used emails from a non-GHAE company in order to discuss these
    side projects, but he was my supervisor, so I complied with his requests.

 8. In addition to soliciting my technical expertise, around June 2023, Tang was attempting
    to solicit myself and our co-worker, Gustavo Solon, as potential employees for his new
    energy storage company, for which I understand he was seeking funding.

 9. While I found these actions by Tang to be suspicious, I did not report these matters to
    GHAE upper management, as Tang was my direct supervisor.

 10. Recently, I became aware that on June 15, 2023, shortly after proposing to me a
     renewable energy business venture of his own, Tang shared an internal GHAE Shared
     Folder named “Case_CFIUS_Request” from his company email to his personal email
     account, tangmingyu@hotmail.com.

 11. I have had the opportunity to review the contents of this folder and was extremely
     surprised and very concerned to find that Tang had, non-exclusively, transmitted the
     following GHAE confidential and proprietary information outside the company’s
     Information Technology Domain (gha-group.com):

        a. The entire GHAE company legal and financial structure was appropriated in the
           “0_Ownership_Structure” subfolder, especially details regarding investors’
           ownership and amounts. This information could be used by competitors and
           outside parties to determine GHAE investors’ current financial commitment to
           the company and better position such parties to influence or poach GHAE
           investors.

        b. The Company’s Department of Treasury Committee on Foreign Investment in
           the United States (CFIUS) transaction information was appropriated in the
           “130_Barnett and CFIUS_Submission_2020_Month” subfolders. GHAE’s
           work product relating to its CFIUS-compliant transactions are regarded
           confidential under the auspices of the Departments of Justice, Homeland
           Security, Defense, State, Energy, Trade, and Science & Technology. GHAE
           spent a considerable amount of financial resources to develop the work product
           and internal analysis for these private CFIUS USDA transactions. More
           specifically, GHAE spent over $250,000 in legal and over $180,000 in internal
           costs to complete the work product required for its CFIUS foreign land
           acquisition filings.

        c. The Company Department of Agricultural Land by Foreign Investment
           Disclosure (AFIDA) for all properties was appropriated in the
           “USDA_AFIDA” subfolder. GHAE spent an estimated $190,000 in legal and
           over $110,000 in internal costs to develop its confidential and proprietary work


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            product relating to its AFIDA foreign ownership of agricultural land acquisition
            filings.

        d. The Company’s confidential work product for the formation of Blue Valley
           Ranch, Brother Ranch, Carma Ranch, Lane & Crane Ranch, Morningstar &
           Rodeo Ranch, and Sister Ranch properties were appropriated in the
           “132_Brazos Highland Properties” subfolder. In estimation, GHAE spent over
           $125,000 in legal and surveying costs to develop the proprietary work product
           for its legal descriptions and parcel maps. Furthermore, in the “137_GH
           America Energy” subfolder, over $100,000 in professional engineering studies
           for GHAE’s renewable energy land, project and transmission
           developments underway were appropriated.


        e. In summary, the internal company folder that Tang shared with his personal
           email contains GHAE’s organizational charts; contracts for oil and gas assets
           and ranch sales; research on renewable energy projects; ownership agreements;
           asset maps; consulting agreements; and other technical data that is critical to
           GHAE operations and is highly confidential.

 12. Documents concerning business operations contained in the shared folder referenced
     above are confidential, proprietary and constitute trade secrets of GHAE in the
     following non-exclusive respects:

        a. Energy Project Development. GHAE’s unique ability to understand a potential
           buyer’s capability to develop their own energy projects on the land being
           marketed for sale by GHAE involves a vast amount of industry know-how and
           resources relating to regulatory and technical research, which GHAE has
           developed through diligent work, costly engineering studies, CFIUS analysis,
           financial studies, and so forth. GHAE’s unique library of institutional
           knowledge and technical expertise relating to land development services for
           renewables projects sets us apart from our competitors. For these reasons, such
           information is proprietary and confidential.

        b. Financial Information. GHAE develops financial information utilizing internal
           market research, customized buyer needs/preferences, historical financial data
           on current buyers, financial data on our investors, et cetera, which information
           is highly confidential and may constitute trade secrets.

        c. Internal Processes. Documents in this category are utilized to analyze and
           develop energy-related project proposals, including analyzing CFIUS and other
           regulatory issues relating to the sale and possible uses of the land, which
           processes give GHAE a competitive advantage that would be jeopardized if the
           information were disclosed.

 13. GHAE takes efforts to protect its confidential, proprietary and trade secret information
     in the following non-exclusive respects:

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        a. As a condition of employment with GHAE, all managers and all employees
           agree to abide by the terms of the company’s Employee Handbooks, which
           contain confidentiality provisions providing that employees must not discuss or
           release the company’s business affairs, projects, or clients with anyone outside
           the company; that private and confidential information is never to be emailed
           outside the company; and that employees must not act in conflict with company
           interests.

        b. All managers and all employees must continue to treat all nonpublic Company
           information as confidential even after their employment with GHAE ends, and
           they are bound by policies and agreements entered into during employment.

        c. GHAE has adopted a comprehensive Confidentiality Policy, the terms of which
           each manager and employee is required to acknowledge and agree to in writing.

        d. GHAE expects managers and employees to honor their employment and post-
           employment obligations with GHAE. Where they do not do so, GHAE is
           permitted to seek assistance from the Court to prevent injustice.

 14. If GHAE’s confidential, proprietary and trade secret information were to be disclosed
     to anyone outside of GHAE, it would significantly impact GHAE’s ability to conduct
     business in our marketplaces in the following non-exclusive respects:

        a. If GHAE’s energy project development research and analyses with regard to
           specific potential buyers were disclosed, competitors will learn GHAE
           strategies and sales techniques for structuring our property pricing and sales to
           maximize outcomes, thus negatively impacting GHAE’s competitive
           advantage. Competitors will also know our internal research and analysis on the
           regulatory difficulties associated with energy development projects and how
           they may be addressed. GHAE has accumulated information to develop these
           strategies over several years of diligent cultivation and hard work. Competitors
           would gain immediate access to GHAE’s “know-how” in the industry and
           compete with us on their similar endeavors.

        b. Financial records for GHAE investors and contracts with GHAE customers
           show our internal costs, internal financial commitments, and property pricing
           and sales strategies. If a competitor were to gain access to these documents,
           they could take unfair advantage of GHAE’s financial standing and pricing
           strategy to significantly undercut our business operations.

        c. Internal processes for GHAE protocols include strategies on buyer acquisition
           via energy project development proposals based on extensive technical research
           and analysis. This highly confidential, proprietary and trade secret information
           is more intricate than either land development or early stage project
           development competitors. Insight into these intricacies would unfairly propel


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                  competitors to a position that GHAE has spent years and considerable time,
                  energy, resources, and money to develop.

       15. All of the foregoing will create problems for GHAE business operations; will severely
           and negatively impact our ability to compete in the market; and will give our
           competitors a head start or unfair advantage that they would not have without our
           information. In addition, potential buyers and cooperative partners will lose confidence
           in us, resulting in reputational damage that is irreparable.

       16. The threat of harm that GHAE faces from the use and/or disclosure of this information
           is irreparable because it took several years and hundreds of thousands of dollars for
           GHAE to establish its position in the market. Allowing the information, that we know
           Tang took from GHAE, based on the shared file referenced above, to be used for Tang’s
           personal benefit or to get into the hands of a competitor would change the current state
           of affairs in this market and cause our competitors to spend less time or no time
           developing their own land development services for energies projects.

       17. Meanwhile, GHAE’s ability to conduct its business adequately and securely is at risk.
           Access to GHAE’s confidential information, as well as the loss of goodwill and
           reputation amongst its business relationships and the industry constitutes irreparable
           harm to GHAE. As a result, it will become exponentially more difficult for GHAE to
           survive.



       I declare under criminal penalty of the United States of America that the foregoing is true
and correct.”

       Executed on this 7th day of September 2023.



                                                                    _ __
                                                                    __ _ _____________
                                                     __________________________________
                                                     John Skibinski




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